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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION

THE UNITED STATES OF AMERICA,                       )
                                                    )
       Plaintiff,                                   )
v.                                                  )       6:20CR4-3
                                                    )
CLARENCE JOHNSON,                                   )
                                                    )
      Defendant.                                    )


                                           ORDER


       Counsel in the above-captioned case have advised the Court that all pretrial motions have

been complied with and/or that all matters raised in the parties’ motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.

       IT IS ORDERED that all motions filed on behalf of the defendant, Clarence Johnson, are

DISMISSED.

       SO ORDERED, this QG day of March 2020.




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                                             ___________
                                               _      _ _________________
                                                                       _ ___
                                             CHRISTOPHER
                                             CHRISTOPHPHER L. RAY
                                             UNITED STATES MAGISTRATE
                                                             MAGISTRA  ATE JUDGE
                                                                           J
                                             SOUTHERN DISTRICT OF GEORGIA
